           Case 17-22123         Doc 26 Filed 12/23/20 Entered 12/23/20 14:11:04                    Desc NTC
                                   Domestic Support Obligatio Page 1 of 1
Form defdso13

                                      UNITED STATES BANKRUPTCY COURT
                                            Northern District of Illinois
                                                 Eastern Division
                                                 219 S Dearborn
                                                    7th Floor
                                                Chicago, IL 60604



In Re:
                                                                   Case No. 17−22123
Carol A Cokinis                                                    :
6485 Nash Street                                                   Chapter : 13
Downers Grove, IL 60516                                            Judge :   Janet S. Baer
SSN: xxx−xx−9062 EIN: N.A.
aka Carol A Holyk, aka Carol Ann Cokinis, ...




                         NOTICE TO INDIVIDUAL DEBTORS IN CHAPTER 12/13 CASES
                               OF REQUIRED DOCUMENT FOR DISCHARGE


         In order to receive a Discharge, you must file the following document.

            Debtor's Declaration Domestic Support Obligations.

       Please complete the local form titled Debtor's Declaration Regarding Domestic Support Obligations. If a joint
petition was filed, each spouse must complete and file a separate declaration.

    The local form, Debtor's Declaration Regarding Domestic Support Obligations, is available on our website at
www.ilnb.uscourts.gov/Forms/Form_Orders.cfm

       If you do not file the required document, your case will be closed without a discharge. You will still be liable
for the current balance of the debts you owed before filing. If you subsequently file a Motion to Reopen, you must
pay the reopening fee.

         If you are represented by an attorney, please contact your attorney for guidance.

         If you have any questions about submitting the form, please call 312−408−5000.

                                                              FOR THE COURT



Dated: December 23, 2020                                      Jeffrey P. Allsteadt, Clerk
                                                              United States Bankruptcy Court
